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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

AMERIFIRST FINANCIAL, INC, et al.,1                               Case No. 23-11240 (TMH)

                         Debtors.                                 (Jointly Administered)



    WITNESS AND EXHIBIT LIST OF RCP CREDIT OPPORTUNITIES FUND LOAN
    SPV (FUND III), L.P. AND RCP CUSTOMIZED CREDIT FUND (FUND IV-A), L.P.
          FOR THE HEARING ON DECEMBER 18, 2023 AT 10:00 A.M. (ET)

         PLEASE TAKE NOTICE that RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.

and RCP Customized Credit Fund (Fund IV-A), L.P. (collectively, “RCP”), by and through their

undersigned counsel, hereby submit this Exhibit List in connection with the hearing scheduled for

December 18, 2023 at 10:00 a.m. (ET), before the Honorable Thomas M. Horan, at the United

States Bankruptcy Court for the District of Delaware, located at 824 N. Market Street, 5th Floor,

Courtroom No. 4, Wilmington, Delaware 19801 (the “Hearing”), at which time the following

motions will be heard:

        Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
         Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
         Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a
         Final Hearing, and (V) Granting Related Relief [D.I. 21] (the “DIP Motion”); and

        Motion of the Official Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et
         al., for an Order Granting (I) Leave, Standing, and Authority to Commence and Prosecute
         Certain Claims on Behalf of the Debtors’ Estates and (II) Exclusive Settlement Authority
         in Respect of Such Claims [D.I. 470] (the “Standing Motion” and together with the DIP
         Motion, the “Motions”).




1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial, Inc.’s principal
place of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps Road, Suite 117, Mesa,
Arizona 85203.

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                                                   EXHIBITS

           RCP designates the following exhibits that may be used at the Hearing in connection with

the Motions:

Exhibit No.           Docket No. / Bates No.                                   Description
                            D.I. 509-1
                    (RCP Standing Obj.,2 Ex. A)
       1                                                 2021 Credit and Security Agreement
                             D.I. 338-1
                    (Debtors’ DIP Reply,3 Ex. A)
                             D.I. 509-2
                     (RCP Standing Obj., Ex. B)
       2                                                 Flagstar Subordination Agreement
                            D.I. 338-3
                    (Debtors’ DIP Reply, Ex. C)
                             D.I. 509-3
                    (RCP Standing Obj., Ex. C)
       3                                                 10/26/23 hearing transcript
                               D.I. 367
                            D.I. 509-4
       4                                                 E. Bowlby 10/24/23 Deposition Transcript
                    (RCP Standing Obj., Ex. D)
                           D.I. 509-5                    Paladin Memo re: AFI: Bowlby Family & Jon
       5
                    (RCP Standing Obj., Ex. E)           Jackson Transactions Report
                           D.I. 509-6
                    (RCP Standing Obj., Ex. F)
       6                                                 10/20/23 hearing transcript
                          D.I. 410-11
                     (RCP DIP Reply,4 Ex. K)
                                                         11/15/23 email from Eric Bowlby to Joshua Law
                            D.I. 509-7
       7                                                 with attachment and Settlement with Phoenix
                    (RCP Standing Obj., Ex. G)
                                                         Suns (BOWLBY000021-28)

2
 “RCP Standing Obj.” means the Objection of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
Customized Credit Fund (IV-A), L.P. To the Motion of the Official Committee of Unsecured Creditors for Standing to
Prosecute Claims and Exclusive Settlement Authority [D.I. 509].
3
 “Debtors’ DIP Reply” means the Debtors’ Supplemental Omnibus Reply in Support of Motion for Interim and Final
Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
(V) Granting Related Relief [D.I. 338].
4
 “RCP DIP Reply” means the Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
Customized Credit Fund (Fund IV-A), L.P., in Further Support of Debtors’ Motion for Entry of a Final Order (I)
Authorizing Debtors (A) to Obtain Post-Petition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
Granting Related Relief [D.I. 335 (sealed); 410 (unredacted)].
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                            D.I. 509-8            E. Bowlby Tesla Account Statement
      8
                    (RCP Standing Obj., Ex. H)    (BOWLBY000047)
                          D.I. 509-10
                    (RCP Standing Obj., Ex. J)

                           D.I. 410-10            Amended and Restated Credit and Security
      9
                      (RCP DIP Reply, Ex. J)      Agreement dated 5/15/23 (RCP00020022)

                           D.I. 338-12
                    (Debtors’ DIP Reply, Ex. J)
                           D.I. 509-11
      10                                          Veritex Account Statements
                    (RCP Standing Obj., Ex. K)
                           D.I. 509-12
                    (RCP Standing Obj., Ex. L)
      11                                          Letter from RCP to Flagstar dated 12/2/22
                            D.I. 338-7
                    (Debtors’ DIP Reply, Ex. E)
                            D.I. 509-13
                    (RCP Standing Obj., Ex. M)
                                                  Letter from Kasowitz to RCP dated 12/27/22
      12
                                                  (RCP00002034)
                            D.I. 338-8
                    (Debtors’ DIP Reply, Ex. F)
                            D.I. 509-14
                    (RCP Standing Obj., Ex. N)
                                                  Letter from Quinn Emanuel to Kasowitz dated
      13
                                                  1/4/23 (RCP00016815)
                             D.I. 338-9
                    (Debtors’ DIP Reply, Ex. G)
                           D.I. 509-15
      14                                          11/21/23 hearing transcript
                    (RCP Standing Obj., Ex. O)
                           D.I. 509-16
                    (RCP Standing Obj., Ex. P)
      15                                          Term Sheet dated 3/31/23 (RCP00002051-2060)
                           D.I. 338-11
                    (Debtors’ DIP Reply, Ex. I)
                           D.I. 509-17
                    (RCP Standing Obj., Ex. Q)

                           D.I. 410-6             Pledge Agreement dated 5/15/23
      16
                      (RCP DIP Reply, Ex. F)      (RCP00025149-25157)

                            D.I. 338-15
                    (Debtors’ DIP Reply, Ex. M)




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                           D.I. 509-18
                    (RCP Standing Obj., Ex. R)
                                                  Security Agreement dated 5/15/23
      17
                                                  (RCP00013374-13395)
                            D.I. 338-16
                    (Debtors’ DIP Reply, Ex. N)
                            D.I. 509-19
                     (RCP Standing Obj., Ex. S)

                           D.I. 410-5             Settlement Agreement dated 5/15/23
      18
                      (RCP DIP Reply, Ex. E)      (RCP00025184-25194)

                            D.I. 338-14
                    (Debtors’ DIP Reply, Ex. L)
                            D.I. 509-20
                    (RCP Standing Obj., Ex. T)    Limited Waiver and Second Amendment to
      19                                          Credit and Security Agreement dated 5/15/23
                            D.I. 338-13           (RCP00012778-12793)
                    (Debtors’ DIP Reply, Ex. K)
                            D.I. 509-21
                    (RCP Standing Obj., Ex. U)
                                                  Letter from RCP to AmeriFirst dated 8/3/23
      20
                                                  (RCP00017233-17237)
                            D.I. 338-20
                    (Debtors’ DIP Reply, Ex. R)
                              509-23
                    (RCP Standing Obj., Ex. W)    Unanimous Written Consent of Board of
      21                                          Directors of AmeriFirst Financial, Inc. dated
                            D.I. 410-2            8/24/23
                      (RCP DIP Reply, Ex. B)
                             509-24
                    (RCP Standing Obj., Ex. X)
      22                                          E. Bowlby texts (Bowlby000001-000009)
                           D.I. 410-1
                     (RCP DIP Reply, Ex. A)
                           D.I. 509-25
      23                                          E. Bowlby email exchange (KBT126-130)
                    (RCP Standing Obj., Ex. Y)
                           D.I. 509-26            Deposit Account Control Agreement dated
      24
                    (RCP Standing Obj., Ex. Z)    8/18/22
                           D.I. 410-3
                     (RCP DIP Reply, Ex. C)
                                                  Letter from Kasowitz to RCP 8/22/23 – Notice of
      25
                                                  Default (RCP00002006)
                            D.I. 338-21
                    (Debtors’ DIP Reply, Ex. S)
                           D.I. 410-4             Lenders’ Analysis Presentation, dated 10/10/23
      26
                     (RCP DIP Reply, Ex. D)       (RCP00001591)



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                                                 Written Consent of Board of Directors of
                          D.I. 410-7
      27                                         AmeriFirst Financial, Inc., dated 5/15/23
                    (RCP DIP Reply, Ex. G)
                                                 (RCP00001965)
                                                 Action by Unanimous Written Consent the Board
                          D.I. 410-8
      28                                         of Directors and Shareholders of AmeriFirst
                    (RCP DIP Reply, Ex. H)
                                                 Financial, Inc., dated 5/15/23 (RCP00025215)
                         D.I. 410-9              Operating Agreement of Phoenix 1040 LLC
      29
                    (RCP DIP Reply, Ex. I)       (RCP00002652)
      30                     N/A                 E. Bowlby texts (Bowlby000010-000020)

      31            DANE-009249-009250           Email re: canceling Board of Directors meeting

                                                 Email from E. Bowlby to Fannie Mae dated
      32                DANE-000234
                                                 5/15/23
      33                DANE-021602              Email from E. Bowlby dated 5/16/23
                                                 Email from E. Bowlby to Fannie Mae dated
      34                DANE-020182
                                                 5/17/23
                                                 Email exchange between E. Bowlby and Jeff
      35            DANE-004421-004422
                                                 George dated 6/22/23
                                                 Email exchange between E. Bowlby and Edward
      36            DANE-004059-004061
                                                 Filusch
      37                DANE-003047              Emails from Edward Filusch

        RCP also cross designates all exhibits designated by the Debtors in connection with the

Motions.

        RCP reserves the right to use additional exhibits for rebuttal or impeachment purposes.

                                          WITNESSES

        RCP designates the following witnesses: (1) any witness designated by the Debtors in

connection with the Motions and (2) any witness designated by any other party in connection with

the Motions.

        RCP further reserves the right to call any witness(es) for rebuttal or impeachment purposes.

                                 RESERVATION OF RIGHTS

        RCP reserves the right to amend this witness and exhibit list prior to the Hearing.


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 Dated: December 14, 2023      POTTER ANDERSON & CORROON LLP
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